

People v Alverez (2022 NY Slip Op 04226)





People v Alverez


2022 NY Slip Op 04226


Decided on June 30, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 30, 2022

Before: Kapnick, J.P., Friedman, Moulton, Shulman, Pitt, JJ. 


Ind No. 5109/16 Appeal No. 16229 Case No. 2019-02274 2019-2351 

[*1]The People of The State of New York, Respondent, 
vDaniel Alverez, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Sela Brown of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Brent Yarnell of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Kevin McGrath, Jr. J.), rendered February 13, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 30, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








